










NO. 07-08-0385-CR

IN THE COURT OF APPEALS

FOR THE SEVENTH DISTRICT OF TEXAS

AT AMARILLO

PANEL A

DECEMBER 2, 2008

______________________________


SHANE SEPEDA, APPELLANT

v.

THE STATE OF TEXAS, APPELLEE

_________________________________

FROM THE 47TH DISTRICT COURT OF POTTER COUNTY;

NO. 54,125-A; HON. HAL MINER, PRESIDING

_______________________________

Before CAMPBELL, HANCOCK and PIRTLE, JJ.
&nbsp;
&nbsp;&nbsp;ABATEMENT AND REMAND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant, Shane Sepeda, was convicted of possession of a controlled substance
and sentenced to 20 years confinement in the Institutional Division of the Texas
Department of Criminal Justice.  Appellant filed a notice of appeal challenging his
conviction.  The clerk's record was filed on November 24, 2008.  Upon reviewing the
record, it came to this Court's attention that the Trial Court's Certification of Defendant's
Right of Appeal does not comply with Rule 25.2(d) of the Texas Rules of Appellate
Procedure.  Specifically, the certification does not indicate whether or not appellant has the
right to appeal.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Consequently, we abate this appeal and remand this cause to the trial court for
further proceedings.  Upon remand, the trial court shall utilize whatever means necessary
to secure a proper Certification of Defendant's Right of Appeal in compliance with Rule
25.2(d).  Once properly completed and executed, the certification shall be included in a
supplemental clerk's record.  See Tex. R. App. P. 34.5(c)(2).  The trial court shall cause
this supplemental clerk's record to be filed with the Clerk of this Court by January 2, 2009. 
This order constitutes notice to all parties, pursuant to Rule 37.1 of the Texas Rules of
Appellate Procedure, of the defective certification.  If a supplemental clerk's record
containing a proper certification is not filed in accordance with this order, this matter will be
referred to the Court for dismissal.  See Tex. R. App. P. 25.2(d). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
Per Curiam
&nbsp;
Do not publish.&nbsp;
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